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~ §00563

 

NOT FOR RESALE
NO REFUND

 

 

 

 

 

 

 

 

 
 

By accepting a Ticket or Credential (‘Ticket’), a Ticket Holder cerlifies that he or she has accepted each of the terms and conditions of this Agreement. A. Tickels are
Valid only for the date indicated on face of the Tickel. Augusta National, Inc. (ANI) reserves the right fo suspend the Toumament or close the golf course because of adverse weather
conditions or for olher safety reasons. In such situations, no refunds, rain checks, exchanges or replacements will be made, B, The Ticket is

a limited license, which may be revoked by ANI at any lime with or without cause al the discretion of ANI, All ANI and Toumament policies,

signs, verbal instructions of Toumament officals, and traditional customs of etiquette, proper altire, decorum and behavior must be observed at

all imes. Protests of all types are forbidden. A copy of all Tournament tickel policies are available at Masters.com, willbe posted at entrances to

the Toumament and are incorporated herein. C. ELECTRONIC DEVICES (INCLUDING PHONES, LAPTOPS, TABLETS, AND BEEPERS) ARE

STRICTLY PROHIBITED ON THE GROUNDS AT ALL TIMES, ANY DEVICE BEING USED 10 RECGRD AND/OR TRANSMIT VOICE, VIDEO,

OR DATA IS STRICTLY PROHIBITED. CAMERAS ARE STRICTLY PROHIBITED ON TOURNAMENT DAYS. D. ANI is the only authorized

source/seller of Masters® Tickets. Tickells) may not be offered for sale, sold or rented througho third party resellers including, but not limited to,

fickel brokers, travel agents, hospitality enbties or scalpers. Holders of Tickels acquired from such parties, by whalever means, may be excluded

from attendance to the Touiament. Offers for sale, re-sale or other transfer of Tickel(s) for a value in excess of face value is prohibited by this

Agreement and also is restricled by Georgia law 0.C.G.A. §-43-4B-25, et seq. Tickel(s) may not be used for advertising or promotional purposes

(such as prizes, rafiles, auctions, contests, or sweepstakes). A Ticket obtained in contravention of these provisions will not be honored and the

original Ticket Purchaser subject to the permanent loss of Tickel(s). E. This Agreement and the purchase of fickels do nol entitle Tickel Purchaser

to receive future Toumament fickets and no rights of renewal, expectation or property rights exist or should be implied. F, The Tickel Purchaser

is responsible for explaining all provisions of this Agreement to any subsequent user or Holder of the Ticket (‘Ticket Holder’ or “Holder’), and is

responsible for the conduct of any such Tickel Holder, A Tickel Holders subject lo all terms of this Agreement. G. All risks customarily associaled

wilh got! toumamenls, including without imitation, being hit by a gol! ball or goll club, being struck by lightning, slipping and falling are assumed by Ticket Purchaser and Holder. ANI,
ils officers, employees, volunteers, agents and all Tourtament participants are released from any claims of lability arising from such causes.

H. ANI and such third parties it may authorize are granted permission to use, without compensation, videotape, film, pholographs or olher images or ikenesses of Ticket Purchaser and
Holder. 1. Images of Augusta National Golf Club or the Masters Toumament, or cata oblained with cameras, videos, and/or audio devices or olher means cannot be used for broadcast,
publication or any commercial purposes under any circumstances. J, For security purposes, Ticket Purchaser and Holder consent fo the reasonable inspection of hisyher person and
property, including electronic scanning, before entering and/or while on the grounds. Refusal of such an inspection or possession of prohibited items will result in exclusion/removal from
the Toumament and the grounds and Tickel Purchaser's permanent loss of the Tickel(s). K. Any claim or dispute arising hereunder, or {fom use of Ticket, shall be govemed by Georgia
law and shall be brought, exclusively, in the Civil or Magistrate Courts of Richmond County, Georgia unless involving a sum or matler outside of their jurisdictional limits, in which case it
shall be resolved by arbitration under the Federal Arbitration Actin accordance with the applicable American Arbitration Association rules, No joinder of claims or class action is permitled.
FAILURE TO OBSERVE ANY OF THE TERMS OR PROVISIONS HEREOF OR ANY TOURNAMENT TICKET POLICIES MAY RESULT IN THE TICKET PURCHASER’S OR
HOLDERS REMOVAL OR EXCLUSION FROM THE TOURNAMENT AND THE ORIGINAL TICKET PURCHASER'S PERMANENT LOSS OF TICKET(S). A REVOCATION OF
TICKETS MAY ENTITLE THE TICKET PURCHASER TO A PRO RATA REFUND, BASED ON CURRENT YEAR USAGE, WITHIN 60 DAYS OF THE TOURNAMENT.

 

“In golf, customs of etiquette and decorum are just as important as rules governing play. It is appropriate for spectators to applaud successful strokes in
proportion to difficulty but excessive demonstralions by a player or his partisans are not proper because of the possible effect upon other compelitors. Most
distressing to those who love the game of golf is he applauding or cheering of misplays or misfortunes of a player. Such occurrences have been rare at the
Masters but we must eliminate them entirely if our patrons are to continue to merit their reputation as the most knowledgeable and considerate in the world.”
ROBERT TYRE JONES, JR.
PRESIDENT IN PERPETUITY
AUGUSTA NATIONAL GOLF CLUB

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